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ALBUgy ISTRICT COuRT
MEX)
IN THE UNITED STATES DISTRICT COURT UL g 2019
_ FOR THE DISTRICT OF NEW MEXICO MITC HEL) -
UNITED STATES OF AMERICA, CLERK LFERS
Plaintiffs,
vs. CR No.19-MJ-1159-SCY
CHRISTOPHER DOUGLAS,
Defendant.
w P EN
1. I am the defendant in this criminal proceeding.

2. understand that I am entitled to a preliminary hearing, but I have agreed to
waive my right to that hearing in exchange for the following:
Q ' Pre-Indictment discovery
ww Pre-Indictment plea negotiations
ov Mental Competency Examination
Q

 

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3. I understand that I have a right to have my case presented to a grand jury
within thirty 30) days of my arrest pursuant to 18 U.S.C. § 3161(b).
4. I hereby request a continuance of grand jury presentment for an additional

period not to exceed 120 days from the date of the Court’s Order for Mental Competency

 

Examination Pursuant to 18 U.S.C. § 4241 (Doc. 16), such delay shall be excludable in

computing the time within which an Information or an Indictment must be filed. 18 U.S.C.

§3161(h)(1)(A). I further request that an Order be entered providing that the period shall

 

 
 

 

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be excluded from speedy indictment time computation pursuant to 18 U.S.C. §
3161(h)(7)(A),

5. Continuing the grand jury presentment will allow me to be examined for
mental competency and my attorney to attempt to negotiate a pre-indictment plea agreement
with the government, whose terms may be more acceptable to me than those of an agreement
offered after indictment.

6. If I cannot reach an agreement with the United States Attorney’s Office, I
understand that my case will be presented to a grand jury at a later date, consistent with this
waiver.

testi Ye Defendant
I have reviewed the foregoing waiver with my client, Christopher Douglas,
and represent to the court that he understands it. I further represent to the court that I

believe it is in, my client’s best interest to agree to this waiver.

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Martin Lopez, Ii
Attorney for Defendant

DATE: dy C2014

HONORABLE STEVEN C. YARBROUGH
UNITED STATES MAGISTRATE

 

 

 

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